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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      11/6/2020


GEMSTONE GROUP, LLC,

                                            Plaintiff,                  20-CV-06567 (AT)(SN)

                          -against-                                             ORDER

KASA LIVING, INC.,

                                            Defendant.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        On Wednesday, November 4, 2020, the Honorable Analisa Torres assigned this matter to

my docket for settlement. In light of the Court’s busy calendar, settlement conferences must

generally be scheduled at least six to eight weeks in advance. The Court will likely be unable to

accommodate last-minute requests for settlement conferences, and the parties should not

anticipate that litigation deadlines will be adjourned in response to late requests for settlement

conferences. As soon as practicable, the parties are directed to contact Courtroom Deputy Rachel

Slusher, rachel_slusher@nysd.uscourts.gov, with three (3) mutually compatible dates, to

schedule a settlement conference for a time when they believe it would be productive.

SO ORDERED.




DATED:           November 6, 2020
                 New York, New York
